Case 2:05-cv-04182-SRD-JCW Document 5533-3 Filed 06/12/07 Page 1 of 2

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES Civil Action No. 05-4182

CONSOLIDATED LITIGATION
PERTAINS TO: INSURANCE — (06-2143)

Judge Duval
MOLLIE SOLOMON, WIFE OF/AND

AVRAM C, HERMAN
Magistrate Judge Wilkenson

Plaintiffs,

Versus

THE TRAVELERS INSURANCE
COMPANY, ef al,

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Defendants.
RRAKAKK KERR RRR RRR RRR
ORDER

Upon considering the above and foregoing Joint Motion of Voluntary Partial
Dismissal it is hereby

IT IS HEREBY ORDERED that Plaintiff’s clatms and causes of action asserted in
the captioned matter for wind related damages arising out of or resulting from Hurricane
Katrina are dismissed with prejudice, each party to bear its own costs, and specifically
reserving unto Plaintiff those claims that Plaintiff may have for loss or damage to the

Dwelling or to Personal Property caused directly by water that was released from one of

the canals or
Case 2:05-cv-04182-SRD-JCW Document 5533-3 Filed 06/12/07 Page 2 of 2

waterways, including the Mississippi River Gulf Outlet, and during and subsequent to
Hurricane Katrina, in the City of New Orleans on or about August 29, 2005 or thereafter
and that entered the Dwelling.

NEW ORLEANS, LOUISIANA this day of

2007,

UNITED STATES DISTRICT JUDGE
